320 F.2d 919
    Harold WHITAKER et al.v.Lettie E. GRISWOLD.
    No. 7360.
    United States Court of Appeals Tenth Circuit.
    June 24, 1963.
    
      Scovel &amp; Scovel, Independence, Kan., for appellants.
      Abernathy &amp; Baker, Shawnee, Okl., and Hudson &amp; Hudson, Fort Scott, Kan., for appellee.
      Before MURRAH, Chief Judge, and BREITENSTEIN, Circuit Judge.
      PER CURIAM.
    
    
      1
      Appeal dismissed June 24, 1963, pursuant to stipulation of the parties.
    
    